      Case 2:24-cv-00165-TOR               ECF No. 14-1    filed 06/27/24   PageID.261 Page 1 of 3



 1                                                                     JUDGE THOMAS O. RICE
 2   Braden Pence, WSBA #43495
     Joe Shaeffer, WSBA #33273
 3   Mika Rothman, WSBA #55870
 4   MacDonald Hoague & Bayless
     705 Second Avenue, Suite 1500
 5   Seattle, Washington 98104-1745
     Phone: 206-622-1604
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 9
                                  UNITED STATES DISTRICT COURT
10                          EASTERN DISTRICT OF WASHINGTON AT SPOKANE
11   JAMES LEIGHTY,                                        No. 2:24-cv-00165-TOR
12                                Plaintiff,               REPLY DECLARATION OF MIKA
                                                           ROTHMAN IN SUPPORT OF
13                          v.                             PLAINTIFF'S MOTION FOR
                                                           PRELIMINARY INJUNCTION
14   SPOKANE COUNTY, a municipal
     corporation; SHERIFF JOHN NOWELS, NOTED: JULY 8, 2024
15   an individual; and SPOKANE COUNTY
     SHERIFF'S OFFICE, a subdivision of a WITHOUT ORAL ARGUMENT
16   municipal corporation,
17                                Defendants.
18
19               I, Mika Rothman, declare as follows:

20               1.         I am one of the attorneys for Plaintiff James Leighty. I am over the age

21   of 18, and am competent to testify.

22               2.         On June 19, 2024, SCSO posted on its Facebook page about an arrest

23   of a suspect. Exhibit 1 is a true copy of the post showing comments on the post that

      DECLARATION OF MIKA ROTHMAN IN SUPPORT OF                                MACDONALD HOAGUE & BAYLESS
      PLAINTIFF'S MOTION FOR PRELIMINARY INJUNCTION - 1                          705 Second Avenue, Suite 1500
                                                                                    Seattle, Washington 98104
                                                                               Tel 206.622.1604 Fax 206.343.3961
      No. 2:24-cv-00165-TOR
     19619.00002 qj262903
      Case 2:24-cv-00165-TOR              ECF No. 14-1   filed 06/27/24   PageID.262 Page 2 of 3



 1   remain visible on the SCSO Facebook page. Comments cited by Plaintiff in his

 2   Reply are highlighted on pages 4 and 5 of Exhibit 1.

 3               3.         On June 11, 2024, SCSO posted on its Facebook page about an arrest

 4   of a suspect. Exhibit 2 is a true copy of the post showing comments on the post that

 5   remain visible on the SCSO Facebook page. Comments cited by Plaintiff in his

 6   Reply are highlighted on pages 3, 6, and 7 of Exhibit 2.

 7               4.         On May 28, 2024, SCSO posted on its Facebook page about an arrest

 8   of a suspect. Exhibit 3 is a true copy of the post showing comments on the post that

 9   remain visible on the SCSO Facebook page. Comments cited by Plaintiff in his

10   Reply are highlighted on pages 4 and 5 of Exhibit 3.

11               I declare under penalty of perjury of the laws of the United States of America

12   and the State of Washington that the foregoing is true and correct.

13               DATED this 27th day of June, 2024, at Seattle, Washington.

14
                                                    /s/Mika Rothman
15                                                  Mika Rothman
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 1                                  CERTIFICATE OF SERVICE

 2               I certify that on the date noted below I electronically filed this document

 3   entitled Reply Declaration of Mika Rothman in Support of Plaintiff’s Motion

 4   for Preliminary Injunction with the Clerk of the Court using the CM/ECF

 5   system.
     EVANS, CRAVEN & LACKIE, P.S                       Via Clerk of the Court (CM/ECF
 6                                                      System)
 7   Heather C. Yakely, WSBA #28848                    Via Facsimile
     Savannah Youmans, Legal Assistant                 Via First Class Mail
 8   818 W. Riverside, Suite 250                       Via Email
     Spokane, WA 99201                                 Via Overnight Delivery
 9   hyakely@ecl-law.com
     Syoumans@ecl-law.com
10
11   Attorney for Defendants Spokane
     County, John Nowels, and Spokane
12   County Sheriff’s Office

13
14               DATED this 27th day of June, 2024, at Seattle, Washington.

15
                                                       /s/Olivia Doolan
16                                                     Olivia Doolan, Legal Assistant
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19
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